                       Case 8-23-73858-ast                  Doc 1       Filed 10/17/23          Entered 10/17/23 17:23:39


 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District
     Eastern District of New  York of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                             
                                                             ✔ Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Michael
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or         __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Aryeh
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Michael Haymov
2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           1    4    4    8
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                       Case 8-23-73858-ast                       Doc 1     Filed 10/17/23            Entered 10/17/23 17:23:39

               Michael Aryeh
Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           537 Albemarle Road                                             _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Cedarhurst                           NY        11516
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Nassau County                                                  _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
                        Case 8-23-73858-ast                       Doc 1    Filed 10/17/23           Entered 10/17/23 17:23:39

                Michael Aryeh
 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                             Chapter 11
                                             Chapter 12
                                            
                                            ✔ Chapter 13




 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
                     Case 8-23-73858-ast                            Doc 1    Filed 10/17/23           Entered 10/17/23 17:23:39

             Michael Aryeh
Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
                     Case 8-23-73858-ast                         Doc 1     Filed 10/17/23               Entered 10/17/23 17:23:39

             Michael Aryeh
Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                          deficiency that makes me
                                                                  incapable of realizing or making                                  incapable of realizing or making
                                                                  rational decisions about finances.                                rational decisions about finances.
                                               Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                  to be unable to participate in a
                                                                  briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                  through the internet, even after I                                through the internet, even after I
                                                                  reasonably tried to do so.                                        reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                   duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
                        Case 8-23-73858-ast                         Doc 1       Filed 10/17/23             Entered 10/17/23 17:23:39

                Michael Aryeh
Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                
                                              ✔ No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                        No
    administrative expenses
    are paid that funds will be                         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                     
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                      50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                           
                                              ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                    
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Michael Aryeh
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    10/17/2023
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
                       Case 8-23-73858-ast                         Doc 1      Filed 10/17/23            Entered 10/17/23 17:23:39

               Michael Aryeh
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Erica Yitzhak                                                 Date          _________________
                                                                                                                                10/17/2023
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Erica Yitzhak
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  The Yitzhak Law Group
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 1 Linden Place
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 406
                                                _________________________________________________________________________________________________

                                                 Great Neck                                                      NY            11021
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 5164667144
                                                              ______________________________         Email address
                                                                                                                     erica@etylaw.com
                                                                                                                     _________________________________________



                                                 4061958                                                         NY
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
                          Case 8-23-73858-ast                          Doc 1            Filed 10/17/23                   Entered 10/17/23 17:23:39



 Fill in this information to identify your case:

 Debtor 1
                     Michael Aryeh
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New YorkDistrict of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 9,900.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 9,900.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 16,269.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 317,251.00
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 333,520.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 10,000.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 8,254.67
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                        Case 8-23-73858-ast                    Doc 1     Filed 10/17/23            Entered 10/17/23 17:23:39

                  Michael Aryeh
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       10,000.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                               0.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                   314,000.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                             314,000.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                           Case 8-23-73858-ast                                  Doc 1              Filed 10/17/23                        Entered 10/17/23 17:23:39



Fill in this information to identify your case and this filing:

                    Michael Aryeh
Debtor 1
                    First Name                Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Eastern District of New
York
                                                                                                                                                                                                          Check if this is
Case number                                                                                                                                                                                               an amended
(if know)
                                                                                                                                                                                                          filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                            12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
   3.1 Make:BMW                                                                  Who has an interest in the property? Check
                                                                                                                                                               Do not deduct secured claims or exemptions. Put the
                                                                                 one
            Model:M850                                                                                                                                         amount of any secured claims onSchedule D:
                                                                                      Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2022
                                                                                      Debtor 2 only
            Approximate mileage:                                                                                                                                 Current value of the Current value of the
                                                                                      Debtor 1 and Debtor 2 only                                                 entire property?     portion you own?
               Other information:
                                                                                      At least one of the debtors and another                                    $ 0.00                                $ 0.00
              Lease. See Schedule G.
                                                                                     Check if this is community property (see
                                                                                 instructions)

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤               $ 0.00


Part 3:        Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                 portion you own?
 6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...




                                                                                                                                                                                                                 page 1 of 5
                             Case 8-23-73858-ast                                      Doc 1                Filed 10/17/23                           Entered 10/17/23 17:23:39

Debtor 1          Michael Aryeh                                                                                                                                     Case number(if known)
                First Name            Middle Name           Last Name




  7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...

      televisions, laptop, cell phone, tablet                                                                                                                                                        $ 2,000.00
  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

      men's clothing                                                                                                                                                                                 $ 3,000.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 5,000.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 500.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:

                                                                                                                                                                                                                  page 2 of 5
                           Case 8-23-73858-ast                  Doc 1   Filed 10/17/23             Entered 10/17/23 17:23:39

Debtor 1        Michael Aryeh                                                                                       Case number(if known)
              First Name           Middle Name   Last Name




       17.1. Checking account:                          chase                                                                                $ 2,400.00

       17.2. Checking account:                          Chase                                                                                $ 2,000.00

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:                   $ 0.00
                                                                                                                 State:                     $ 0.00
                                                                                                                 Local:                     $ 0.00




                                                                                                                                                          page 3 of 5
                             Case 8-23-73858-ast                                 Doc 1              Filed 10/17/23                          Entered 10/17/23 17:23:39

Debtor 1          Michael Aryeh                                                                                                                                          Case number(if known)
                First Name          Middle Name          Last Name




  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤   $ 4,900.00


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                          $ 0.00




                                                                                                                                                                                                         page 4 of 5
                               Case 8-23-73858-ast                                      Doc 1               Filed 10/17/23                           Entered 10/17/23 17:23:39

Debtor 1            Michael Aryeh                                                                                                                                        Case number(if known)
                  First Name            Middle Name           Last Name




 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                              $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 5,000.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 4,900.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                     $ 9,900.00                        Copy personal property total➤   +$
                                                                                                                                                                                                      9,900.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 9,900.00




                                                                                                                                                                                                           page 5 of 5
                          Case 8-23-73858-ast              Doc 1        Filed 10/17/23              Entered 10/17/23 17:23:39


 Fill in this information to identify your case:

                     Michael Aryeh
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New York District of __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                               amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                     4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).



For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state
a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the
amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-
exempt retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law
that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.
  Pa rt 1 : I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                   Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                        exemption you claim

                                                          Copy the value from                    Check only one box
                                                          Schedule A/B                           for each exemption

 Brief
 description:                                                    $________________        $ ____________
                                                                                           100% of fair market value, up to
 Line from                                                                                     any applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                    $________________        $ ____________
                                                                                           100% of fair market value, up to
 Line from                                                                                     any applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                    $________________        $ ____________
                                                                                           100% of fair market value, up to
 Line from                                                                                     any applicable statutory limit
 Schedule A/B:
 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                         1
                                                                                                                                                     page 1 of __
                              Case 8-23-73858-ast                 Doc 1        Filed 10/17/23              Entered 10/17/23 17:23:39


  Fill in this information to identify your case:

  Debtor 1           Michael Aryeh
                     First Name                           Last Name
                                       Middle Name

  Debtor 2
  (Spouse, if filing) First Name            Middle Name
                                                               Last Name



  United States Bankruptcy Court for the: Eastern District of New York

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:        List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                        Describe the property that secures the claim: $ 16,269.00            $ 0.00            $ 16,269.00


        Bmw Fin Svc
                                                          - $0.00
        Creditor’s Name
        5515 Park Center C
        Number                                            As of the date you file, the claim is: Check all
                     Street
        Dublin OH           43017                         that apply.
        City      State     ZIP Code                         Contingent
        Who owes the debt? Check one.                        Unliquidated
          Debtor 1 only                                      Disputed
          Debtor 2 only
                                                          Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                             An agreement you made (such as mortgage or
          At least one of the debtors and another            secured car loan)
                                                             Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                Judgment lien from a lawsuit
                                                             Other (including a right to offset)
        Date debt was incurred 07-28-2021
                                                          Last 4 digits of account number 3303

       Add the dollar value of your entries in Column A on this page. Write that number here:                     $ 16,269.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
                            Case 8-23-73858-ast                    Doc 1            Filed 10/17/23             Entered 10/17/23 17:23:39


   Fill in this information to identify your case:

                   Michael Aryeh
   Debtor 1
                   First Name                                Last Name
                                          Middle Name

   Debtor 2
   (Spouse, if filing) First Name              Middle Name
                                                                  Last Name



   United States Bankruptcy Court for the: Eastern District of New York

   Case number                                                                                                                                       Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                    Last 4 digits of account number 5757
         Discover Bank                                                                                                                                     $ 2,827.00
         Nonpriority Creditor's Name
                                                                         When was the debt incurred? 02-07-2016

         Po Box 15316                                                    As of the date you file, the claim is: Check all that apply.
         Number                                                             Contingent
                       Street
         Wilmington DE            19850                                     Unliquidated
         City             State   ZIP Code                                  Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                 Student loans
             Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
             At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                     debts
             debt                                                          Other. Specify Credit Card Debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of 5
                              Case 8-23-73858-ast                Doc 1         Filed 10/17/23             Entered 10/17/23 17:23:39
 Debtor           Michael Aryeh                                                                                          Case number(if known)
                 First Name           Middle Name   Last Name




  4.2                                                              Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                            $ 75,939.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 08-26-2015

          Po Box 9635                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Wilkes Barre PA                18773                        Unliquidated
          City                State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.3                                                              Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                            $ 68,847.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 08-12-2013

          Po Box 9635                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Wilkes Barre PA                18773                        Unliquidated
          City                State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.4                                                              Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                            $ 31,851.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 08-08-2012

          Po Box 9635                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Wilkes Barre PA                18773                        Unliquidated
          City                State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                  page 2 of 5
                              Case 8-23-73858-ast                Doc 1         Filed 10/17/23             Entered 10/17/23 17:23:39
 Debtor           Michael Aryeh                                                                                          Case number(if known)
                 First Name           Middle Name   Last Name




  4.5                                                              Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                            $ 27,919.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 08-12-2013

          Po Box 9635                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Wilkes Barre PA                18773                        Unliquidated
          City                State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                              Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                            $ 25,946.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 08-26-2015

          Po Box 9635                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Wilkes Barre PA                18773                        Unliquidated
          City                State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.7                                                              Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                              $ 876.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 09-16-2009

          Po Box 9635                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Wilkes Barre PA                18773                        Unliquidated
          City                State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                  page 3 of 5
                               Case 8-23-73858-ast                Doc 1         Filed 10/17/23             Entered 10/17/23 17:23:39
 Debtor           Michael Aryeh                                                                                           Case number(if known)
                 First Name            Middle Name   Last Name




  4.8                                                               Last 4 digits of account number 0825
          Dpt Ed/Aidv                                                                                                                             $ 82,622.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 08-08-2012

          Po Box 9635                                               As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Wilkes Barre PA                 18773                        Unliquidated
          City                 State      ZIP Code                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.9                                                               Last 4 digits of account number 8417
          Jpmcb Card                                                                                                                                $ 424.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 05-01-2012

          301 N Walnut St, Floor 09                                 As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Wilmington DE                 19801                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Larry Wilson                                                 Last 4 digits of account number
                                                                                                                                                  $ Unknown
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          114 High Point Road                                       As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Scarsdale NY                10583                            Unliquidated
          City            State       ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                  page 4 of 5
                               Case 8-23-73858-ast               Doc 1         Filed 10/17/23             Entered 10/17/23 17:23:39
 Debtor           Michael Aryeh                                                                                           Case number(if known)
                 First Name           Middle Name   Last Name




  4.11 NAM Funding LLC                                             Last 4 digits of account number
                                                                                                                                                  $ Unknown
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          150 Great Neck Road                                      As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Suite 304                                                   Unliquidated
                                                                      Disputed
          Great Neck NY                11021
                                                                   Type of NONPRIORITY unsecured claim:
          City                State    ZIP Code
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                              Total claim

   Total claims          6a. Domestic support obligations                                           6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                              6b.   $ 0.00
                         government
                         6c. Claims for death or personal injury while you were                     6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that             6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                        6e.
                                                                                                           $ 0.00



                                                                                                              Total claim

   Total claims          6f. Student loans                                                          6f.   $ 314,000.00
   from Part 2
                         6g. Obligations arising out of a separation agreement or                   6g.   $ 0.00
                             divorce that you did not report as priority claims
                         6h. Debts to pension or profit-sharing plans, and other                    6h.   $ 0.00
                             similar debts
                         6i. Other. Add all other nonpriority unsecured claims. Write that          6i.   $ 3,251.00
                             amount here.
                         6j. Total. Add lines 6f through 6i.                                        6j.
                                                                                                           $ 317,251.00




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                   page 5 of 5
                          Case 8-23-73858-ast                       Doc 1            Filed 10/17/23          Entered 10/17/23 17:23:39


  Fill in this information to identify your case:

  Debtor 1
                     Michael Aryeh
                      First Name                                   Last Name
                                             Middle Name

  Debtor 2
  (Spouse, if filing) First Name                   Middle Name
                                                                         Last Name



  United States Bankruptcy Court for the: Eastern District of New York

  Case number                                                                                                                            Check if this is
  (if know)                                                                                                                              an amended
                                                                                                                                         filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                             State what the contract or lease is for

 2.1                                                                                          2022 BMW M850
          BMW Financial
          Name
          300 Chestnut Ridge Rd
          Street
          Woodcliff Lake NJ                07677
          City                     State   ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                            page 1 of 1
                            Case 8-23-73858-ast          Doc 1         Filed 10/17/23           Entered 10/17/23 17:23:39


Fill in this information to identify your case:

Debtor 1
                Michael Aryeh
                     First Name                       Last Name
                                   Middle Name

Debtor 2
(Spouse, if filing) First Name          Middle Name
                                                           Last Name



United States Bankruptcy Court for the: Eastern District of New York

Case number                                                                                                                       Check if this is
(if know)                                                                                                                         an amended
                                                                                                                                  filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                               12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:




Official Form 106H                                                 Schedule H: Your Codebtors                                              page 1 of 1
                          Case 8-23-73858-ast              Doc 1         Filed 10/17/23           Entered 10/17/23 17:23:39


 Fill in this information to identify your case:

                      Michael Aryeh
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________      District
                                          Eastern District of New York
                                                                                   tate)
 Case number         ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                          ✔ Employed
    information about additional         Employment status                                                            Employed
    employers.                                                            Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                   General Counsel
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Alliance Capital US
                                         Employer’s name               __________________________________            __________________________________


                                         Employer’s address               13 77 Motor Parkway
                                                                       _______________________________________     ________________________________________
                                                                        Number Street                               Number    Street
                                                                          LL05
                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                          Islandia, NY 11749
                                                                       _______________________________________     ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   8 months                                          ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.      10,000.00
                                                                                                 $___________          $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                           4.      10,000.00
                                                                                                 $__________           $____________




Official Form 106I                                                 Schedule I: Your Income                                                    page 1
                         Case 8-23-73858-ast                              Doc 1           Filed 10/17/23                 Entered 10/17/23 17:23:39

Debtor 1
                 Michael   Aryeh
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.     10,000.00
                                                                                                                        $___________           $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________          $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________          $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________          $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________          $_____________
                                                                                                                               0.00
                                                                                                                        $____________          $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________          $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      10,000.00
                                                                                                                        $____________          $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00
                                                                                                                        $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________          $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   #<IncomeSource::ActiveRecord_AssociationRelation:0x00007f9deef070d8>8f.                                     0.00
                                                                                                                        $____________          $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00           + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                          10,000.00
                                                                                                                        $___________    +      $_____________        = $_____________
                                                                                                                                                                         10,000.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                   11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                         10,000.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                         12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                               page 2
                           Case 8-23-73858-ast               Doc 1          Filed 10/17/23                Entered 10/17/23 17:23:39



  Fill in this information to identify your case:

                     Michael Aryeh
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Eastern District of New York
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                    expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 ✔ No
                                                                                         Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’
                                                                                                                                                  No
                                                                                          _________________________                ________
   names.                                                                                                                                         Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 3,800.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
                          Case 8-23-73858-ast                    Doc 1    Filed 10/17/23      Entered 10/17/23 17:23:39


                    Michael Aryeh
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      650.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                      125.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      570.67
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      150.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                         0.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                       60.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                         0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      200.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      200.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                      200.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      700.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                    1,499.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                         Case 8-23-73858-ast                   Doc 1    Filed 10/17/23          Entered 10/17/23 17:23:39


                   Michael Aryeh
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        pet expenses
                                                                                                                                        100.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 8,254.67
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 8,254.67
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      10,000.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 8,254.67
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  1,745.33
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                                 Case 8-23-73858-ast       Doc 1          Filed 10/17/23                Entered 10/17/23 17:23:39


Fill in this information to identify your case:

Debtor 1           Michael Aryeh
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Eastern District of New York District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Michael Aryeh
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              10/17/2023
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
                            Case 8-23-73858-ast                    Doc 1           Filed 10/17/23              Entered 10/17/23 17:23:39



 Fill in this information to identify your case:

                    Michael Aryeh
 Debtor 1
                    First Name         Middle Name          Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name          Last Name



 United States Bankruptcy Court for the: Eastern District of New York

 Case number
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                        Debtor 1                                                 Debtor 2

                                                                        Sources of income         Gross income                   Sources of income         Gross income
                                                                        Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                  exclusions)                                              exclusions)

         From January 1 of current year until the date                     Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                         bonuses, tips      $                                     bonuses, tips      $
                                                                           Operating a business                                     Operating a business


         For last calendar year:                                           Wages, commissions,                                      Wages, commissions,
                                                                           bonuses, tips      $                                     bonuses, tips      $
         (January 1 to December 31, 2022
                                                                           Operating a business                                     Operating a business


         For the calendar year before that:                                Wages, commissions,                                      Wages, commissions,
                                                                           bonuses, tips      $                                     bonuses, tips      $
         (January 1 to December 31, 2021
                                                                           Operating a business                                     Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1 of 6
                            Case 8-23-73858-ast                 Doc 1          Filed 10/17/23                Entered 10/17/23 17:23:39

Debtor          Michael Aryeh                                                                                                  Case number(if known)
               First Name     Middle Name   Last Name




   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                           Nature of the case                      Court or agency                                     Status of the
                                                                                                                                                       case

    Case title:                                            commercial foreclosure; Date                                                                    Pending
    JG Funding Corp v. GBRC                                filed: 02/01/2022                       New York State Supreme Court Kings County               On appeal
    Holding Corp et al                                                                             Court Name
    Case number: 503177/2022                                                                                                                               Concluded
                                                                                                   360 Adams Street
                                                                                                   Number
                                                                                                              Street
                                                                                                   Brooklyn NY         11201
                                                                                                   City        State   ZIP Code




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 6
                            Case 8-23-73858-ast                    Doc 1        Filed 10/17/23                Entered 10/17/23 17:23:39

Debtor          Michael Aryeh                                                                                                   Case number(if known)
               First Name     Middle Name    Last Name




    Case title:                                             rent non-payment guaranty;                                                                  Pending
    1-10 Bush Terminal Owner LP                             Date filed: 07/13/2023                  New York State Supreme Court Kings County           On appeal
    v. MCA Capital Holdings LP                                                                      Court Name
    Case number: 520167/23                                                                                                                              Concluded
                                                                                                    360 Adams Street
                                                                                                    Number
                                                                                                               Street
                                                                                                    Brooklyn NY         11201
                                                                                                    City        State   ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.

17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 3 of 6
                             Case 8-23-73858-ast                  Doc 1         Filed 10/17/23                Entered 10/17/23 17:23:39

Debtor         Michael Aryeh                                                                                                    Case number(if known)
              First Name       Middle Name   Last Name




19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.
                                                         Who else had access to it?                         Describe the contents                       Do you still have
                                                                                                                                                        it?

       Chase Bank                                        .                                                  , $0.00
                                                                                                                                                            No
       Name of Financial Institution                     Name
                                                                                                                                                            Yes
       335 Rockaway Turnpike                             .
       Number                                            Number
                    Street                                            Street
       Lawrence NY            11559                      .        .        .
       City          State    ZIP Code                   City     State    ZIP Code

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:       Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:       Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4 of 6
                           Case 8-23-73858-ast                 Doc 1          Filed 10/17/23                Entered 10/17/23 17:23:39

Debtor         Michael Aryeh                                                                                                  Case number(if known)
              First Name     Middle Name   Last Name




 Part 11:       Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 5 of 6
                           Case 8-23-73858-ast                     Doc 1          Filed 10/17/23                Entered 10/17/23 17:23:39

Debtor         Michael Aryeh                                                                                                      Case number(if known)
              First Name         Middle Name   Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Michael Aryeh
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 10/17/2023                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
                          Case 8-23-73858-ast             Doc 1        Filed 10/17/23          Entered 10/17/23 17:23:39


 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
 Debtor 1           Michael Aryeh
                   __________________________________________________________________                           this Statement:
                     First Name             Middle Name             Last Name

 Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name             Last Name                                         under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         Eastern District     of __________
                                                          of New
                                                     District      York                                          2. Disposable income is determined
                                                                                                                ✔
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
 Case number         ___________________________________________
 (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                                 4. The commitment period is 5 years.
                                                                                                                ✔

                                                                                                                Check if this is an amended filing


Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                 10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
    
    ✔ Not married. Fill out Column A, lines 2-11.
     Married. Fill out both Columns A and B, lines 2-11.
     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                     Column A             Column B
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                         10,000.00
                                                                                                     $__________                     0.00
                                                                                                                            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                              0.00
                                                                                                     $__________                     0.00
                                                                                                                            $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                         0.00
                                                                                                     $_________                      0.00
                                                                                                                            $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1     Debtor 2
    farm
                                                                          0.00
                                                                      $______         0.00
                                                                                 $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                             Copy
    Net monthly income from a business, profession, or farm               0.00        0.00 here              0.00                  0.00
                                                                      $______    $______             $_________            $__________

6. Net income from rental and other real property                   Debtor 1     Debtor 2

    Gross receipts (before all deductions)                                0.00
                                                                      $______         0.00
                                                                                 $______

    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                             Copy
    Net monthly income from rental or other real property                 0.00
                                                                      $______         0.00 here
                                                                                 $______                      0.00
                                                                                                     $_________                     0.00
                                                                                                                           $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 1
                                 Case 8-23-73858-ast                                            Doc 1                  Filed 10/17/23                                Entered 10/17/23 17:23:39

Debtor 1                Michael Aryeh
                       _______________________________________________________                                                                                       Case number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A               Column B
                                                                                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                                                                                           non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                   0.00
                                                                                                                                                                                             $__________

8. Unemployment compensation                                                                                                                                                 0.00
                                                                                                                                                                     $____________                   0.00
                                                                                                                                                                                             $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                            0.00
     under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________           $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                                        0.00
                                                                                                                                                               + $____________                       0.00
                                                                                                                                                                                           + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                  10,000.00
                                                                                                                                                                     $____________     +             0.00
                                                                                                                                                                                            $___________        = $________
                                                                                                                                                                                                                    10,000.00
                                                                                                                                                                                                                    Total average
                                                                                                                                                                                                                    monthly income




Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                  10,000.00
                                                                                                                                                                                                                $_____________
13. Calculate the marital adjustment. Check one:

     
     ✔ You are not married. Fill in 0 below.
      You are married and your spouse is filing with you. Fill in 0 below.
      You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                               + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                         Copy here            ─____________
                                                                                                                                                                                                                         0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        10,000.00
                                                                                                                                                                                                                 $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2
                                Case 8-23-73858-ast                                          Doc 1                Filed 10/17/23                             Entered 10/17/23 17:23:39

Debtor 1              Michael   Aryeh
                      _______________________________________________________                                                                                Case number (if known)_____________________________________
                       First Name              Middle Name                     Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here  ...........................................................................................................................................................................................
                                                                                                                                                                                                                                 10,000.00
                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                               120,000.00
                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                NY
                                                                                                           _________

     16b. Fill in the number of people in your household.
                                                                                                                   3
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                103,444.00
                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.  Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b. 
          ✔ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                           10,000.00
                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                            ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                       10,000.00
                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                               10,000.00
                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                               120,000.00
                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                               103,444.00
                                                                                                                                                                                                                             $___________


21. How do the lines compare?


      Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




     
     ✔ Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                           page 3
                    Case 8-23-73858-ast                    Doc 1    Filed 10/17/23            Entered 10/17/23 17:23:39

Debtor 1    Michael   Aryeh
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name     Middle Name        Last Name



Pa rt 4 :   Sign Be low


            By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

             /s/ Michael Aryeh
                ___________________________________________________                 ____________________________________
               Signature of Debtor 1                                                    Signature of Debtor 2


                    10/17/2023
               Date _________________                                                   Date _________________
                      MM / DD   / YYYY                                                       MM /   DD    / YYYY

            If you checked 17a, do NOT fill out or file Form 122C–2.
            If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C–1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 4
                          Case 8-23-73858-ast                Doc 1       Filed 10/17/23          Entered 10/17/23 17:23:39



 Fill in this information to identify your case:

 Debtor 1           Michael Aryeh
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New York District of __________

 Case number         ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 122C–2
Cha pt e r 1 3 Ca lc ula t ion of Y our Disposa ble I nc om e                                                                                   4/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Pa rt 1 :        Ca lc ula t e Y our De duc t ions from Y our I nc om e



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
    answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
    this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
   of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
   income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
   of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




    5.   The number of people used in determining your deductions from income
         Fill in the number of people who could be claimed as exemptions on your federal income tax return,
         plus the number of any additional dependents whom you support. This number may be different
         from the number of people in your household.                                                                           0



    National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.



    6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
         Standards, fill in the dollar amount for food, clothing, and other items.                                                        $__________



    7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
         fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are
         under 65 and people who are 65 or older─because older people have a higher IRS allowance for health care costs. If your
         actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C─2                                   Chapter 13 Calculation of Your Disposable Income                                                page 1
                        Case 8-23-73858-ast                                Doc 1            Filed 10/17/23                     Entered 10/17/23 17:23:39

Debtor 1       Michael   Aryeh
                _______________________________________________________                                                        Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name




           People who are under 65 years of age
                                                                                        79.00
           7a. Out-of-pocket health care allowance per person $______________
           7b. Number of people who are under 65                                     X ______

                                                                                      0.00                           Copy line   0.00
           7c. Subtotal. Multiply line 7a by line 7b.                                $______________                           $___________
                                                                                                                     7c here

            People who are 65 years of age or older
                                                               154.00
           7d. Out-of-pocket health care allowance per person $______________

           7e. Number of people who are 65 or older                                  X ______
                                                                                                                     Copy line
           7f. Subtotal. Multiply line 7d by line 7e.                                 0.00
                                                                                     $______________                                  0.00
                                                                                                                                   + $__________
                                                                                                                     7f here


                                                                                                                                     0.00             Copy total
      7g. Total. Add lines 7c and 7f. ..........................................................................................    $___________
                                                                                                                                                      here .........7g.
                                                                                                                                                                             0.00
                                                                                                                                                                            $________

  Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
  Standards

  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
  into two parts:
   Housing and utilities – Insurance and operating expenses

   Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                     0.00
      the dollar amount listed for your county for insurance and operating expenses.                                                                                        $_______

  9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount                                          0.00
                 listed for your county for mortgage or rent expenses.                                                             $__________

           9b. Total average monthly payment for all mortgages and other debts secured by
                your home.
                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

               Name of the creditor                                                  Average monthly
                                                                                     payment


             ______________________________________                                    $__________
             ______________________________________                                    $__________

             ______________________________________                                  0.00
                                                                                  + $__________
                                                                                                                   Copy line          0.00
           9b.Total average monthly payment .........................                   0.00
                                                                                       $__________                                 ─ $____________     Repeat this amount
                                                                                                                   9b here                            on line 33a.

     9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                          0.00
                                                                                                                                   $____________      Copy 9c here          0.00
                                                                                                                                                                            $________
           expense). If this number is less than $0, enter $0.

  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                   0.00
                                                                                                                                                                            $________
      the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain why: ________________________________________________________________

                              ________________________________________________________________


Official Form 122C─2                                             Chapter 13 Calculation of Your Disposable Income                                                                      page 2
                      Case 8-23-73858-ast                       Doc 1      Filed 10/17/23                Entered 10/17/23 17:23:39

Debtor 1      Michael   Aryeh
               _______________________________________________________                                   Case number (if known)_____________________________________
               First Name      Middle Name          Last Name




  11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

            0. Go to line 14.
           
           ✔ 1. Go to line 12.
           2 or more. Go to line 12.

  12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
      expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                       379.00
                                                                                                                                                     $_______


  13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
      vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
      may not claim the expense for more than two vehicles.


           Vehicle 1        Describe         _______________________________________________________________________
                            Vehicle 1:
                                             _______________________________________________________________________


           13a. Ownership or leasing costs using IRS Local Standard                                         629.00
                                                                                                           $____________
                                                                                                 13a.
           13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.
                To calculate the average monthly payment here and on line 13e,
                add all amounts that are contractually due to each secured
                creditor in the 60 months after you file for bankruptcy. Then divide
                by 60.

                   Name of each creditor for Vehicle 1               Average monthly
                                                                     payment

                 _________________________________                        0.00
                                                                        $__________
                 _________________________________                  + $__________
                                                                        0.00
                                                                                               Copy                            Repeat this amount
                              Total average monthly payment
                                                                         0.00                  here
                                                                                                           ─ $___________
                                                                                                               0.00            on line 33b.
                                                                        $__________

           13c. Net Vehicle 1 ownership or lease expense                                                                         Copy net Vehicle
                Subtract line 13b from line 13a. If this number is less than $0, enter $0. .............        0.00
                                                                                                              $___________       1 expense here
                                                                                                                                                       0.00
                                                                                                                                                      $_______



           Vehicle 2        Describe         _______________________________________________________________________
                            Vehicle 2:
                                             ________________________________________________________________________

           13d. Ownership or leasing costs using IRS Local Standard...................................        0.00
                                                                                                            $___________

           13e. Average monthly payment for all debts secured by Vehicle 2.
                 Do not include costs for leased vehicles.

                   Name of each creditor for Vehicle 2               Average monthly
                                                                     payment
                  _________________________________                       0.00
                                                                        $__________
                  _________________________________                 + $__________
                                                                        0.00
                                                                                               Copy                            Repeat this amount
                               Total average monthly payment
                                                                          0.00                 here
                                                                                                           ─ $___________
                                                                                                              0.00             on line 33c.
                                                                        $__________

           13f. Net Vehicle 2 ownership or lease expense                                                                         Copy net Vehicle
                                                                                                              $__________
                                                                                                               0.00              2 expense here       $_______
                                                                                                                                                        0.00
                Subtract line 13e from 13d. If this number is less than $0, enter $0. .................


  14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
      Transportation expense allowance regardless of whether you use public transportation.
                                                                                                                                                     0.00
                                                                                                                                                    $_______


  15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
      deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
      more than the IRS Local Standard for Public Transportation.
                                                                                                                                                      0.00
                                                                                                                                                     $_______



Official Form 122C─2                                  Chapter 13 Calculation of Your Disposable Income                                                          page 3
                     Case 8-23-73858-ast                      Doc 1     Filed 10/17/23                 Entered 10/17/23 17:23:39

Debtor 1     Michael   Aryeh
              _______________________________________________________                                  Case number (if known)_____________________________________
              First Name      Middle Name         Last Name




  Other Necessary                 In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                        following IRS categories.

  16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
      employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
      your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                             0.00
                                                                                                                                                                     $_______
      and subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.

  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
      union dues, and uniform costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                            0.00
                                                                                                                                                                     $_______

  18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
      together, include payments that you make for your spouse’s term life insurance.
      Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
      insurance other than term.                                                                                                                                      0.00
                                                                                                                                                                     $_______

  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
      agency, such as spousal or child support payments.                                                                                                              0.00
                                                                                                                                                                     $_______
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

  20. Education: The total monthly amount that you pay for education that is either required:
       as a condition for your job, or                                                                                                                               0.00
                                                                                                                                                                     $_______
       for your physically or mentally challenged dependent child if no public education is available for similar services.

  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
      Do not include payments for any elementary or secondary school education.                                                                                       0.00
                                                                                                                                                                     $_______
  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
      required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
      savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                      0.00
                                                                                                                                                                     $_______
      Payments for health insurance or health savings accounts should be listed only in line 25.

  23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
      you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
      service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
      is not reimbursed by your employer.                                                                                                                          + $________
                                                                                                                                                                      0.00
      Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

  24. Add all of the expenses allowed under the IRS expense allowances.
      Add lines 6 through 23.
                                                                                                                                                                    379.00
                                                                                                                                                                   $__________

  Additional Expense                   These are additional deductions allowed by the Means Test.
  Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
      insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
      dependents.
           Health insurance                                     0.00
                                                               $__________

           Disability insurance                                 0.00
                                                               $__________
           Health savings account                         +     0.00
                                                               $__________
           Total                                                0.00
                                                               $__________    Copy total here .................................................................      0.00
                                                                                                                                                                     $________

           Do you actually spend this total amount?
       No. How much do you actually spend?
                                                          $__________
      
      ✔ Yes

  26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                                    0.00
                                                                                                                                                                     $_______
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

  27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of                                          0.00
                                                                                                                                                                     $_______
      you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
      By law, the court must keep the nature of these expenses confidential.
Official Form 122C─2                               Chapter 13 Calculation of Your Disposable Income                                                                             page 4
                       Case 8-23-73858-ast                                Doc 1           Filed 10/17/23                      Entered 10/17/23 17:23:39

Debtor 1      Michael   Aryeh
               _______________________________________________________                                                       Case number (if known)_____________________________________
                First Name         Middle Name                Last Name



  28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
      on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                0.00
                                                                                                                                                                         $_______
      housing and utilities allowance, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.

  29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
                                                                                                                                                                          0.00
                                                                                                                                                                         $_______
      elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

  30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
                                                                                                                                                                          57.00
                                                                                                                                                                         $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                                               200.00
                                                                                                                                                                     + _________
      Do not include any amount more than 15% of your gross monthly income.

  32. Add all of the additional expense deductions.                                                                                                                   257.00
                                                                                                                                                                     $___________
      Add lines 25 through 31.


  Deductions for Debt Payment

  33. For debts that are secured by an interest in property that you own, including home mortgages,
      vehicle loans, and other secured debt, fill in lines 33a through 33g.
      To calculate the total average monthly payment, add all amounts that are contractually due to each
      secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                     Average monthly
                                                                                                                                     payment
           Mortgages on your home                                                                        
           33a. Copy line 9b here................................................................................................     0.00
                                                                                                                                     $___________

           Loans on your first two vehicles                                                              
           33b. Copy line 13b here. ............................................................................................      0.00
                                                                                                                                     $___________

           33c. Copy line 13e here. ............................................................................................      0.00
                                                                                                                                     $___________

           33d. List other secured debts:
                                                                                                                   
           Name of each creditor for other                       Identify property that secures                   Does payment
           secured debt                                          the debt                                         include taxes
                                                                                                                  or insurance?

                                                                                                                    ✔ No
                                                                                                                   q        1,499.00
                                                                                                                            $___________
                 Bmw Fin Svc
                 ____________________________ _____________________________                                        qYes
                                                                                                                   q
                                                                                                                    ✔ No     1,499.00
                                                                                                                            $___________
                 BMW Financial
                 ____________________________          2022 BMW M850
                                              _____________________________                                        qYes
                                                                                                                   qNo      0.00
                                                                                                                          + $___________
                 _____________________________ _____________________________
                                                                                                                    Yes
                                                                                                                                                        Copy total
           33e. Total average monthly payment. Add lines 33a through 33d. ......................................                      2,998.00
                                                                                                                                     $___________                        2,998.00
                                                                                                                                                                        $__________
                                                                                                                                                        here




Official Form 122C─2                                            Chapter 13 Calculation of Your Disposable Income                                                                    page 5
                      Case 8-23-73858-ast                             Doc 1         Filed 10/17/23                   Entered 10/17/23 17:23:39

Debtor 1      Michael   Aryeh
               _______________________________________________________                                               Case number (if known)_____________________________________
               First Name        Middle Name              Last Name




  34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
      your support or the support of your dependents?


      
      ✔ No. Go to line 35.
       Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                your property (called the cure amount). Next, divide by 60 and fill in the information below.

                  Name of the creditor                    Identify property that                           Total cure                 Monthly cure amount
                                                          secures the debt                                 amount


                  __________________________              ____________________________               $__________          ÷ 60 =        $___________


                  __________________________              ____________________________               $__________          ÷ 60 =        $___________


                  __________________________              ____________________________               $__________          ÷ 60 = + $___________
                                                                                                                                                            Copy
                                                                                                                              Total      0.00
                                                                                                                                        $___________        total  0.00
                                                                                                                                                                  $_______
                                                                                                                                                            here


  35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of the
      filing date of your bankruptcy case? 11 U.S.C. § 507.
      
      ✔ No. Go to line 36.
       Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                priority claims, such as those you listed in line 19.

                  Total amount of all past-due priority claims. ...........................................................        0.00
                                                                                                                                  $______________      ÷ 60        0.00
                                                                                                                                                                  $_______



  36. Projected monthly Chapter 13 plan payment                                                                                    1,600.00
                                                                                                                                  $______________

      Current multiplier for your district as stated on the list issued by the Administrative Office
      of the United States Courts (for districts in Alabama and North Carolina) or by the
      Executive Office for United States Trustees (for all other districts).
                                                                                                                              x    8.6%
                                                                                                                                   ______
      To find a list of district multipliers that includes your district, go online using the link specified
      in the separate instructions for this form. This list may also be available at the bankruptcy
      clerk’s office.
                                                                                                                                                        Copy
                                                                                                                                   137.60
                                                                                                                                  $______________       total      137.60
                                                                                                                                                                  $_______
      Average monthly administrative expense                                                                                                            here

  37. Add all of the deductions for debt payment. Add lines 33g through 36.
                                                                                                                                                                 3,135.60
                                                                                                                                                                $__________




  Total Deductions from Income

  38. Add all of the allowed deductions.

     Copy line 24, All of the expenses allowed under IRS expense allowances ........................                               379.00
                                                                                                                                  $______________

     Copy line 32, All of the additional expense deductions .......................................................                257.00
                                                                                                                                  $______________

     Copy line 37, All of the deductions for debt payment ..........................................................               3,135.60
                                                                                                                               + $______________
                                                                                                                                                        Copy
     Total deductions                                                                                                              3,771.60
                                                                                                                                  $______________       total   3,771.60
                                                                                                                                                               $__________
                                                                                                                                                        here 




Official Form 122C─2                                       Chapter 13 Calculation of Your Disposable Income                                                                  page 6
                         Case 8-23-73858-ast                           Doc 1         Filed 10/17/23                 Entered 10/17/23 17:23:39

 Debtor 1       Michael   Aryeh
                 _______________________________________________________                                            Case number (if known)_____________________________________
                  First Name       Middle Name             Last Name


Pa rt 2 :     De t e rm ine Y our Disposa ble I nc om e U nde r 1 1 U .S.C. § 1 3 2 5 (b)(2 )

 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ........................................................................      10,000.00
                                                                                                                                                                 $_______

 40. Fill in any reasonably necessary income you receive for support for dependent children.
     The monthly average of any child support payments, foster care payments, or disability
     payments for a dependent child, reported in Part I of Form 122C-1, that you received in                                   0.00
                                                                                                                              $____________
     accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
     expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as specified                                0.00
                                                                                                                              $____________
     in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
     specified in 11 U.S.C. § 362(b)(19).


 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ...............                        3,771.60
                                                                                                                              $____________


 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances and
     their expenses. You must give your case trustee a detailed explanation of the special
     circumstances and documentation for the expenses.

     Describe the special circumstances                                                Amount of expense

            ______________________________________________________                        $___________

            ______________________________________________________
                                                                                          $___________
            ______________________________________________________                     + $___________
                                                                                                                Copy here
                                                                       Total               0.00
                                                                                          $___________
                                                                                                                         +     0.00
                                                                                                                              $ _____________


                                                                                                                                                Copy total
 44. Total adjustments. Add lines 40 through 43. ........................................................................     3,771.60
                                                                                                                              $_____________
                                                                                                                                                here           3,771.60
                                                                                                                                                             – $___________


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                6,228.40
                                                                                                                                                               $__________




 Pa rt 3 :         Cha nge in I nc om e or Ex pe nse s


 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
     have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
     the time your case will be open, fill in the information below. For example, if the wages reported increased
     after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
     the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

      Form                 Line       Reason for change                                      Date of change             Increase or     Amount of change
                                                                                                                        decrease?

       22C─1              ____       _______________________________                        ____________
                                                                                                                         Increase     $____________
       22C─2                                                                                                            Decrease
       22C─1              ____       _______________________________                        ____________
                                                                                                                         Increase     $____________
       22C─2                                                                                                            Decrease
       22C─1              ____       _______________________________                        ____________
                                                                                                                         Increase     $____________
       22C─2                                                                                                            Decrease

       22C─1              ____       _______________________________                        ____________
                                                                                                                         Increase     $____________
       22C─2                                                                                                            Decrease


 Official Form 122C─2                                        Chapter 13 Calculation of Your Disposable Income                                                             page 7
                       Case 8-23-73858-ast                      Doc 1   Filed 10/17/23           Entered 10/17/23 17:23:39

Debtor 1       Michael   Aryeh
                _______________________________________________________                          Case number (if known)_____________________________________
                First Name            Middle Name   Last Name




Pa rt 4 :         Sign Be low




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



 /s/ Michael Aryeh
    ___________________________________________________                   __________________________________
    Signature of Debtor 1                                                     Signature of Debtor 2


          10/17/2023
    Date _________________                                                    Date _________________
            MM / DD          / YYYY                                                MM / DD      / YYYY




Official Form 122C─2                                 Chapter 13 Calculation of Your Disposable Income                                                  page 8
        Case 8-23-73858-ast   Doc 1   Filed 10/17/23   Entered 10/17/23 17:23:39



1-10 Bush Terminal Owner LP
220 36th Street
Brooklyn, NY 11232


551 Albany Avenue LLC
123 Washington Street
Apt 33D
New York, NY 10006


Bmw Fin Svc
5515 Park Center C
Dublin, OH 43017


BMW Financial
300 Chestnut Ridge Rd
Woodcliff Lake, NJ 07677


Discover Bank
Po Box 15316
Wilmington, DE 19850


Dpt Ed/Aidv
Po Box 9635
Wilkes Barre, PA 18773


Jpmcb Card
301 N Walnut St, Floor 09
Wilmington, DE 19801


Larry Wilson
114 High Point Road
Scarsdale, NY 10583


NAM Funding LLC
150 Great Neck Road
Suite 304
Great Neck, NY 11021
         Case 8-23-73858-ast     Doc 1   Filed 10/17/23   Entered 10/17/23 17:23:39




                               United States Bankruptcy Court
                               Eastern District of New York




         Michael Aryeh
In re:                                                           Case No.

                                                                 Chapter    13
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              10/17/2023                          /s/ Michael Aryeh
Date:
                                                 Signature of Debtor



                                                 Signature of Joint Debtor
         Case 8-23-73858-ast           Doc 1       Filed 10/17/23          Entered 10/17/23 17:23:39




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
      Case 8-23-73858-ast              Doc 1       Filed 10/17/23          Entered 10/17/23 17:23:39




   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
      Case 8-23-73858-ast              Doc 1       Filed 10/17/23          Entered 10/17/23 17:23:39




Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
        Case 8-23-73858-ast                 Doc 1       Filed 10/17/23     Entered 10/17/23 17:23:39




                                                                A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                    education-courses.
mailing address                                                 In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
Form 101). To ensure that you receive
                                                                If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
                   Case 8-23-73858-ast                    Doc 1         Filed 10/17/23             Entered 10/17/23 17:23:39
     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                             Eastern District of New York
                                               __________________________________
     In re Michael Aryeh
                                                                                                             Case No. _______________

    Debtor                                                                                                            13
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         4,000.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 4,000.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
         Case 8-23-73858-ast           Doc 1    Filed 10/17/23      Entered 10/17/23 17:23:39

 B2030 (Form 2030) (12/15)
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Case 8-23-73858-ast        Doc 1      Filed 10/17/23       Entered 10/17/23 17:23:39




                                       CERTIFICATION
  I certify that the foregoing is a complete statement of any agreement or arrangement for
      payment to me for representation of the debtor(s) in this bankruptcy proceeding.

  10/17/2023                        /s/ Erica Yitzhak, 4061958
_____________________              _________________________________________
Date                                     Signature of Attorney
                                    The Yitzhak Law Group
                                   _________________________________________
                                        ​Name of law firm
                                    1 Linden Place
                                    Suite 406
                                    Great Neck, NY 11021
